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                                                        5   Attorneys for Defendant LVMPD
                                                        6                            UNITED STATES DISTRICT COURT
                                                        7                                   DISTRICT OF NEVADA
                                                        8 FLOYD WALLACE,                                                 Case Number:
                                                                                                                    2:23-cv-00809-APG-NJK
                                                        9                                Plaintiff,
                                                       10           vs.                                       DEFENDANT LVMPD’S RESPONSE
                                                                                                                TO PLAINTIFF’S MOTION TO
                                                       11 LAS VEGAS METROPOLITAN POLICE                        EXTEND TIME TO RESPOND TO
                                                          DEPARTMENT; STATE OF NEVADA;                             MOTION (ECF NO. 14)
                                                       12 CHRISTIAN TORRES; JASON
MARQUIS AURBACH

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                                                          SHOEMAKER; CORY MCCORMICK and
                                                       13 DOES 1 to 50, inclusive,
                        Las Vegas, Nevada 89145
                          10001 Park Run Drive




                                                       14                                Defendants.
                                                       15
                                                                     Defendant Las Vegas Metropolitan Police Department (“LVMPD”), by and through
                                                       16
                                                            its attorney of record, Marquis Aurbach, hereby files its Response to Plaintiff’s Motion to
                                                       17
                                                            Extend Time to Respond to Motion. (ECF No. 14)
                                                       18
                                                                              MEMORANDUM OF POINTS AND AUTHORITIES
                                                       19
                                                            I.       INTRODUCTION
                                                       20
                                                                     On July 16, 2023, Defendant LVMPD filed its Motion to Preclude Jose DeCastro
                                                       21
                                                            from Practicing Law Without a License and to Strike Plaintiff’s Complaint as an Improperly
                                                       22
                                                            Filed Pleading (“LVMPD’s Motion”). (ECF Nos. 10 & 11) Generally, LVMPD’s Motion
                                                       23
                                                            requests an order (1) precluding, non-attorney, Jose DeCastro, from practicing law without a
                                                       24
                                                            license by assisting Mr. Wallace in this lawsuit, and (2) striking Mr. Wallace’s Complaint
                                                       25
                                                            due to Mr. DeCastro’s involvement.
                                                       26
                                                                     On July 21, 2023, Mr. Wallace emailed LVMPD requesting an extension to respond
                                                       27
                                                            to LVMPD’s Motion and threatening sanctions. (Exhibit A) Within twenty-minutes of
                                                       28
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                                                        1 receipt, LVMPD agreed to Mr. Wallace’s request and informed him he could file an

                                                        2 unopposed motion or as a stipulation and order. Mr. Wallace never responded to LVMPD’s

                                                        3 email and, three days later, filed his current Motion to Extend Time to Respond to Motion.

                                                        4 (ECF No. 14) Mr. Wallace requests until August 15, 2023, to oppose LVMPD’s Motion. (Id.

                                                        5 at 2:4)

                                                        6           Although Mr. Wallace should have ended his Motion at this point, he chose to
                                                        7 include a limited opposition to LVMPD’s Motion. (Id. at 2:6-3:18) Ironically, the limited

                                                        8 opposition provides further evidence Mr. DeCastro is drafting Mr. Wallace’s pleadings.

                                                        9 II.       LEGAL ARGUMENT
                                                       10           A.   LVMPD HAS NO OBJECTION TO MR. WALLACE’S EXTENSION
                                                                         REQUEST.
                                                       11
                                                                    As stated in LVMPD’s July 21, 2023 email to Mr. Wallace, LVMPD is “agreeable to
                                                       12
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                                                            extending the time for [Mr. Wallace] to respond to” LVMPD’s Motion. (LVMPD also
                                                       13
                        Las Vegas, Nevada 89145




                                                            unilaterally agreed it would extend Mr. Wallace’s deadline to respond to LVMPD Motion to
                          10001 Park Run Drive




                                                       14
                                                            Dismiss (ECF No. 8). However, Mr. Wallace did not take LVMPD up on the offer and has
                                                       15
                                                            filed his opposition to that motion. (ECF No. 15)). Therefore, LVMPD is agreeable to
                                                       16
                                                            extending Mr. Wallace’s response deadline to LVMPD’s Motion to August 15, 2023.
                                                       17
                                                                    B.   MR. WALLACE’S LIMITED OPPOSITION PROVIDES FURTHER
                                                       18                EVIDENCE MR. DECASTRO IS UNLAWFULLY ASSISTING HIM.
                                                       19           According to Mr. Wallace, LVMPD’s Motion has no factual basis because “no
                                                       20 factual assertions are supported by a declaration or affidavit and the attached document shas

                                                       21 no verification.” (ECF No. 14 at 2:6-8) According to Mr. Wallace, Fed. R. Civ. P. 75(d)

                                                       22 prohibits LVMPD from correcting any rule violations in its eventual reply. (Id. at 2:6-9)

                                                       23           First, Mr. Wallace’s reliance on Fed. R. Civ. P. 75(d) is problematic. This rule was
                                                       24 abrogated in 1997. Second, there is local rule in Nevada requiring the submission of an

                                                       25 affidavit with the filing of a motion. See LR 7-2. A federal court that does have local rules

                                                       26 requiring the attachment of an affidavit to a motion is the District Court for the District of

                                                       27 Massachusetts. See D. Mass. L.R. 7.1(b)(1). Interestingly, Mr. DeCastro just lost a lawsuit in

                                                       28 Massachusetts subject to those local rules. See DeCastro v. Abrams, 1:22-cv-11421-ABD,
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                                                        1 2023 WL 4472343 (D. Mass. 2023). In short, it appears Mr. Wallace is relying upon the

                                                        2 federal rules of Massachusetts - a jurisdiction where Mr. DeCastro recently litigated and

                                                        3 lost. Thus, Mr. Wallace’s Motion to Extend either provides further support of Mr.

                                                        4 DeCastro’s assistance or is simply another coincidence.

                                                        5         Third, Mr. Wallace represents LVMPD has “no supporting evidence” for the Motion
                                                        6 to Preclude. (ECF No. 14 at 2:13-19) Mr. Wallace knows this representation is false. The

                                                        7 day following Mr. Wallace’s arrest, Mr. Wallace and Mr. DeCastro went to the LVMPD

                                                        8 substation. As both Mr. DeCastro and Mr. Wallace filmed their interaction with a sergeant,

                                                        9 Mr. DeCastro clearly says “I am going to assist Floyd in suing you guys.” (Exhibit B at
                                                       10 00:46) Thus, evidence exists from Mr. DeCastro’s own mouth. Mr. Wallace was standing

                                                       11 within five feet of Mr. DeCastro when he made his announcement, filming. In addition, Mr.

                                                       12 DeCastro has recently uploaded several videos bragging he has filed two lawsuits against
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                                                       13 LVMPD. A search of the records establishes Mr. DeCastro has filed only one lawsuit under
                        Las Vegas, Nevada 89145
                          10001 Park Run Drive




                                                       14 his name.

                                                       15 III.    CONCLUSION
                                                       16         Based upon the above, LVMPD does not oppose Mr. Wallace’s extension request.
                                                       17         Dated this 26th day of July, 2023.
                                                       18
                                                                                                           MARQUIS AURBACH
                                                       19

                                                       20
                                                                                                           By s/Craig R. Anderson
                                                       21                                                     Craig R. Anderson, Esq.
                                                                                                              Nevada Bar No. 6882
                                                       22                                                     10001 Park Run Drive
                                                                                                              Las Vegas, Nevada 89145
                                                       23                                                     Attorneys for Defendant LVMPD
                                                       24

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                                                        1                                CERTIFICATE OF SERVICE
                                                        2          I hereby certify that I electronically filed the foregoing DEFENDANT LVMPD’S
                                                        3 RESPONSE TO PLAINTIFF’S MOTION TO EXTEND TIME TO RESPOND TO

                                                        4 MOTION (ECF NO. 14) with the Clerk of the Court for the United States District Court by

                                                        5 using the court’s CM/ECF system on the 26th day of July, 2023.

                                                        6                 I further certify that all participants in the case are registered CM/ECF users
                                                        7 and that service will be accomplished by the CM/ECF system.

                                                        8                 I further certify that some of the participants in the case are not registered
                                                        9 CM/ECF users. I have mailed the foregoing document by First-Class Mail, postage prepaid,
                                                       10 or have dispatched it to a third-party commercial carrier for delivery within 3 calendar days

                                                       11 to the following non-CM/ECF participants:

                                                       12                                         Floyd Wallace
MARQUIS AURBACH

                  (702) 382-0711 FAX: (702) 382-5816




                                                                                               1613 Leopard Lane
                                                       13                                   College Station, TX 77840
                        Las Vegas, Nevada 89145




                                                                                                     Pro Per
                          10001 Park Run Drive




                                                       14

                                                       15
                                                                                                        s/Sherri Mong
                                                       16                                               an employee of Marquis Aurbach
                                                       17

                                                       18

                                                       19

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                    Exhibit A
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Craig Anderson

From:                            Craig Anderson
Sent:                            Friday, July 21, 2023 1:23 PM
To:                              Floyd Wallace civil rights
Cc:                              Sherri Mong
Subject:                         RE: Where do you stand on a motion for extension of time to respond to your motion?


Hi Mr. Wallace:

Thank you for the email. I am agreeable to extending the time for you to respond to the Motion to Strike and Motion to
Dismiss. You can do it as an unopposed motion or you can draft a stipulation and order.

How long do you want?

Best,

Craig

From: Floyd Wallace civil rights <floydwallacecivilrights@gmail.com>
Sent: Friday, July 21, 2023 1:04 PM
To: Craig Anderson <canderson@maclaw.com>
Subject: Where do you stand on a motion for extension of time to respond to your motion?

Dear Craig Anderson:

Will you oppose a motion for an extension of time to respond to your motion to strike my complaint? In order to allow
you the full 21 days to withdraw it before I file for sanctions.

Floyd Wallace




                                                           1
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                     Exhibit B
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